Case 1:15-cv-00395-RBJ Document 62 Filed 03/30/16 USDC Colorado Page 1 of 20




                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLORADO


CIVIL ACTION NO. 1:15-CV-000395-RBJ

GATEWAY TOWNHOMES ASSOCIATION, INC.

      Plaintiff,

v.

THE TRAVELERS INDEMNITY COMPANY

      Defendant.


         PLAINTIFF GATEWAY TOWNHOMES ASSOCIATION, INC.’S
      RESPONSE TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT



                                        BARTON LAW FIRM
                                        Daniel P. Barton
                                        Wayne Collins
                                        1201 Shepherd Drive
                                        Houston, Texas 77007
                                        (713) 227-4747 (phone)
                                        (713) 621-5900 (fax)
                                        E-mail: dbarton@bartonlawgroup.com
                                        E-mail: wcollins@bartonlawgroup.com

                                        Attorneys for Plaintiff
Case 1:15-cv-00395-RBJ Document 62 Filed 03/30/16 USDC Colorado Page 2 of 20




                                               TABLE OF CONTENTS


TABLE OF AUTHORITIES .......................................................................................................... ii

I.       STATEMENT OF FACTS                                                                                                     1

II.      ARGUMENTS & AUTHORITIES                                                                                                4

         A. Gateway is the Real Party in Interest                                                                               4

              1. Defendant has not plead proper relief and has Waived any Objection to Gateway
                 prosecuting the suit on its own behalf.                                     5

              2. An entire assignment was not made.                                                                             8

              3. Edge has ratified the fact that Gateway has the authority to prosecute the suit in its
                 own name.                                                                            8

              4. The condition precedent to trigger assignment has not yet occurred.                                          10

         B. Lack of Prejudice                                                                                                 10

         C. Plaintiff Complied with Policy Conditions                                                                         12

         D. Gateway Proved its Damages-The Existing codes in effect in the City of Aurora result
            in an increased cost to repair Plaintiff’s damaged property and these code requirements
            have been enforced, triggering coverage.                                            13

         E. Plaintiff Timely Raised Code Compliance                                                                           15




                                                                i
Case 1:15-cv-00395-RBJ Document 62 Filed 03/30/16 USDC Colorado Page 3 of 20




                                     TABLE OF AUTHORITIES



Cases

Audio-Visual Marketing Corp. v. Omni Corp., 545 F.2d 715, 718-19 (10th Cir. 1976).                 9

Craft v. Philadelphia Indemnity Insurance Company, 343 F.3d 951 (S Ct. Colo. 2015).               10

Dupre v. Allstate Insurance Company, 62 P.3d 1024, 1028 – 1029 (Colo. App. 2003).                 14

Friedland v. Travelers Indem. Co., 105 P.3d 639, 643 (Colo. 2005).                                10

Hoeppner Const. Co. v. U.S. for use of E.L. Mangum, et al., 287 F.2d 108, 111 (10th Cir. 1960).    5

Navajo Freight Lines, Inc. v. Moore, 170 Colo. 539, 543, 463 P.2d 460, 462 (1970).                14

Strader v. Beneficial Fin. Co., 191 Colo. 206, 551 P.2d 720 (1976).                               14

Rakin v. Fidelity Nat. Property & Casualty Inc. Co., 863 F.Supp.. 1107, 1112 (D. Colo. 2012). 14

FED. R. CIV. P. 17(a).                                                                             5




                                                   ii
Case 1:15-cv-00395-RBJ Document 62 Filed 03/30/16 USDC Colorado Page 4 of 20




              PLAINTIFF GATEWAY TOWNHOMES ASSOCIATION, INC.’S
           RESPONSE TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT


           COMES NOW Plaintiff Gateway Townhomes Association, Inc. (“Gateway”), through its

attorneys, and submits the following Response to Defendant’s Motion for Summary Judgment

pursuant to F.R.C.P. 56.

                                                     I.
                                             STATEMENT OF FACTS

           1.       Plaintiff admits Undisputed Facts number 1-4, and 6-7. The Plaintiff disputes facts

as presented in the Undisputed Facts 5 and 8-32. The property located at 14330 – 14472 E.

Mississippi Ave was insured by Travelers, under Policy number I-680-294M7088-IND-11 (the

“Policy”) for the policy period November 5, 2011 through November 5, 2012.1

           2.       On June 6, 2012, the property was damaged by a wind/hail storm.2

           3.       The policy contains an endorsement for Ordinance or Law Coverage which

provides a limit of insurance of $250,000 or $500,000 depending on which coverage is applicable

under the endorsement.3 The language of the endorsement is included below.

           4.       Travelers accepted coverage on the damages sustained as a result of the June 2012

storm and allowed for full replacement of the membrane TPO roof, as well as full replacement of

the mansard portion of the roof on all four buildings.4



1
    Exhibit “A” Policy of Insurance p. 2.
2
    Exhibit “B” Travelers Claim Acknowledgment (TIC 000205).
3
    Exhibit “A” Policy of Insurance p. 16.
4
    Exhibit “C” Travelers Estimate.

                                                      1
Case 1:15-cv-00395-RBJ Document 62 Filed 03/30/16 USDC Colorado Page 5 of 20




           5.       The membrane portion of the roof was replaced due to damage from hail. The

mansard portion of the roofs were replaced due to damage from wind.5 No dispute exists regarding

coverage for these two items.

           6.       Plaintiff did not make a claim for damages from wind or hail as to the three

remaining Built-Up-Roof (“BUR”), nor did Plaintiff make a claim for damages to the interior of

the buildings.

           7.       Following Travelers’ acceptance of coverage on the membrane portion of the roof

and the mansards, Plaintiff hired Edge Construction to perform the repairs to the TPO roof.

           8.       During adjustment of the claim, due to a question as to when the loss took place

(which was later resolved and not at issue for purposes of this motion), Travelers hired Case

Forensics to provide analysis and a report. Case’s report found hail and wind damage.6

           9.       Plaintiff’s hired Public Adjuster Peter Ridulfo, who observed the repair process

while it was ongoing, and was on site while Edge Construction was performing the replacement

of the mansards and the membrane roof.7

           10.      On June 27, 2014, Travelers noted that the City of Aurora had an issue with the

“flashing between the termination of the flat roof and the mansard roof. 8 Travelers estimated the




5
    Exhibit “D” Travelers Claim Notes; also Exhibit “E” CASE Forensics’ report.
6
    Exhibit “E” CASE Forensics’ report.
7
    Exhibit “F” Affidavit of Peter Ridulfo.
8
    Exhibit “D” Claim Notes p. 6 (TIC 000184 - 000185).

                                                          2
Case 1:15-cv-00395-RBJ Document 62 Filed 03/30/16 USDC Colorado Page 6 of 20




amount to comply with the City to be $35,188.48.9 Travelers did not maintain that this “Ordinance

additional cost” was not covered.10

           11.      On July 29, 2014, Plaintiff’s Public Adjuster Peter Ridulfo notified Travelers that

there were outstanding items that required attention due to the City Codes.11 Travelers’ notes state

that “[f]rom our perspective the claim was estimated and paid.”12 Travelers then requested

documentation as to each code item being claimed.13

           12.      On August 21, 2014, Travelers re-inspected the building with Mr. Ridulfo, noting

its belief that the repairs were properly scoped and there are no pending code issues.14

           13.      On December 12, 2014, Travelers’ Adjuster Brad DuPuis notified Mr. Ridulfo that

they disagree that any additional repairs are necessitated by the code, and that they had issued

sufficient payments to address the loss.15

           14.      The mansard portion of the roofs on all four buildings were damaged by wind and

required full replacement. The membrane roof on one of the buildings was damaged by hail and

required full replacement. The project is governed by the City of Aurora Building Codes, which

adopted the 2009 International Building Code.16



9
    Id. at TIC 000185.
10
     Id.
11
     Id. at TIC 000183.
12
     Id.
13
     Id.
14
     Id. at TIC 000183.
15
     Exhibit “G” Email from Brad DuPuis to Peter Ridulfo (TIC 000612)
16
  Exhibit “K” Affidavit of Thomas J. Irmiter, Attachment B-1, at pp. 2, 5 - 6 and 14. City of Aurora Buildings and
Building Regulations Chapter 22, Art. IV, Sec. 22-131 (“The international Building Code, 2009 Edition, first printing,
dated February 2009, published by the International Code Council, Inc., including appendix chapters C,E,I, published
by the International Code Council, Inc. is hereby adopted.”) via

                                                          3
Case 1:15-cv-00395-RBJ Document 62 Filed 03/30/16 USDC Colorado Page 7 of 20




           15.      Beyond the $35,188.48 paid by Travelers to address part of the flashing issue raised

by the City, Travelers has issued no payments with regards to additional repairs under the Law and

Ordinance Endorsement, nor has Travelers accepted coverage as to these additional repairs or

promised payment if the repairs are completed.

           16.      On October 13, 2015, Travelers issued a subpoena to the City of Aurora, who

subsequently produced their documentation with regards to this claim.17 Specifically contained in

that documentation delivered to Travelers was a Violation Notice regarding the roof being in

violation of the City Code.18

           17.      While not relevant to the Plaintiff’s claims or the Defendant’s defenses or

Defendant’s Motion for Summary Judgment, the issue raised in Footnote 1, of Defendant’s Motion

for Summary Judgment, is no longer the case.19

           No assignment of the entire claim has occurred. Edge asserts no rights as an assignee and

agrees Gateway has authority to pursue the claims.20 The repairs are not substantially complete.21

                                                 II.
                                       ARGUMENTS & AUTHORITIES

A.         Gateway is the Real Party in Interest




https://www.municode.com/library/co/aurora/codes/building_and_zoning?nodeId=BUILDING_ZONING_CODE_C
H22BUBURE_ARTIVINBUCO_S22-131COAD (last visited 2/17/2016)
17
     Exhibit “H” Subpoena to City of Aurora.
18
     Exhibit “I” Violation Notice. See also Exhibit “P.”
19
   Ex. M. Affidavit of David Greeson.
20
   Ex. L. Affidavit of David Greeson.
21
   See Deposition Transcript of Dustin Wade Greeson, attached hereto as Ex. O at 108:8-108:22 113:25-114:6;
114:7-114:21



                                                           4
Case 1:15-cv-00395-RBJ Document 62 Filed 03/30/16 USDC Colorado Page 8 of 20




        If it were Edge Construction’s position that Edge, and not Gateway, is the real party in

interest, or that Gateway does not have standing to bring this suit for benefits under its own policy,

Edge Construction would have said so. Edge Construction has taken no such position, and as the

alleged “assignee,” states unequivocally Gateway has the authority under the contract to prosecute

the instant lawsuit, has ratified the proceeding, and otherwise repudiated any claim it may have to

the litigation over Gateway.22

        Additionally, in the event there were any assignment, that assignment pertains only to

unpaid insurance proceeds due for work already performed, which is not an assignment of the

entire claim. Also, the condition precedent to trigger assignment has not yet occurred. Moreover,

Defendant’s requested relief is improper under both Tenth Circuit precedent and Rule 17(a)(3)

itself, and is rendered moot by Edge’s ratification. For these reasons, Defendant’s motion is

without merit and should be denied.

        1.      Defendant has not plead proper relief and has Waived any Objection to Gateway
                prosecuting the suit on its own behalf.

        Rule 17(a) requires that every action be prosecuted in the name of the real party in interest.

FED. R. CIV. P. 17(a). The question of whether an assignor or an assignee of an assigned claim is

the real party in interest with sufficient right to enable him to maintain an action thereon is

controlled by the substantive law of Colorado. Hoeppner Const. Co. v. U.S. for use of E.L.

Mangum, et al., 287 F.2d 108, 111 (10th Cir. 1960). It is the law in Colorado that where a claim

has been assigned in full, the assignee is the real party in interest. Id. If an assignor has not assigned

the entire claim, he can still maintain an action in his own name, “leaving the assignee to assert his

22
  See Affidavit of David Greeson, attached hereto as Exhibit L. Note the Defendant attempts to rely on
Exhibits I and J attached to its Motion for Summary Judgment. However, both are not executed by both
parties.

                                                    5
Case 1:15-cv-00395-RBJ Document 62 Filed 03/30/16 USDC Colorado Page 9 of 20




interest by intervention, and the defendant to plead a prior assignment, if he has knowledge of it,

for his own protection.” Id.

         Under FED. R. CIV. P. 17(a)(3), “No action shall be dismissed on the ground that it is not

prosecuted in the name of the real party in interest until a reasonable time has been allowed after

objection for ratification of commencement of the action by, or joinder or substitution of, the real

party in interest.” As stated by the Rule itself – even if Gateway’s assignment is determined to

make Edge the real party in interest, which Plaintiff does not admit, Defendant’s claim for

dismissal would remain improper, and violates not only the Tenth Circuit’s precedent as set by

Hoeppner, as discussed below, but Rule 17 itself. Defendant raised the specific issue of this

assignment for the first time in the instant motion.

         Aside from being improper under Rule 17(a)(3), Defendant’s motion does not follow the

Tenth Circuit’s ruling in Hoeppner Const. Co. v. U.S. for use of E.L. Mangum, et al. One of the

issues before the court in Hoeppner was the assignment by a project’s subcontractor of unpaid

amounts due to that subcontractor to its surety, Aetna. Id. at 110. The issue of whether the

subcontractor or Aetna was the real party in interest was raised by the general contractor’s surety,

concerned that where the assignor/subcontractor brings the claim against the general contractor

(and it’s surety) for unpaid amounts, they could be found liable and then subsequently be found

liable again under the assignment to the assignee, and essentially be forced to pay the same

amounts twice.23 The general contractor’s surety argued that “the subcontractor cannot recover


23
  See Sable Cove Condo Ass’n & Edge Constr., LLC v. Owners Ins. Co., Case No. 1:14-cv-00912-MJW, both
assignee and assignor filed suit as individual Plaintiffs alleging the same causes of action arising out of the same
occurrence. Defendant argued that both Plaintiff’s cannot recover for the same cause of action. Assignee Edge in
that case asserted its claim over assignor Sable Cove, and due to that intervention, the court dismissed Assignor’s
claim.


                                                           6
Case 1:15-cv-00395-RBJ Document 62 Filed 03/30/16 USDC Colorado Page 10 of 20




 against the prime contractor and its surety until the rights of Aetna are either released or

 adjudicated,” and “that they cannot be adjudicated in this action because Aetna is not a party; and

 that the prime contractor cannot be required to pay the same amount twice.” Hoeppner, 287 F.2d

 at 112.

            Where a party to an action faces a situation like the one here, which is nearly identical to

 Hoeppner, the Tenth Circuit has laid out the proper remedy, and the result of failure to follow these

 steps. There are three steps that party must take, that party must:

                1. Plead specifically the assignments;

                2. Ask that the assignee be made a party, and

                3. Seek to have the rights of all parties adjudicated in a manner that which would

                    effectively foreclose the possibility of double payment.

 Id. In Hoeppner, the general contractor’s surety “did not proceed in that manner,” and “made no

 effort to have Aetna joined as a party to the action.” Id. The court then held that “[h]aving failed

 to proceed in that manner, any defense in the nature of lurking danger of double-payment

 in the situation was waived. (emphasis added)” Id. Here, we face a nearly identical situation.

 Defendant has raised this specific assignment for the first time in the instant motion, even though

 it is not specifically plead in their answer.24 However, even if the Court finds this satisfies the first

 requirement, there is no question that Defendant has completely failed to follow the second and

 third requirements. Under the well settled 10th Circuit precedent, Defendant’s failure to follow the

 procedure warrants one single conclusion – Defendant has waived this issue entirely, and the court

 should deny its motion.


 24
      See Defendant’s Original Answer and Exhibit I to Defendant’s Motion for Summary Judgment

                                                         7
Case 1:15-cv-00395-RBJ Document 62 Filed 03/30/16 USDC Colorado Page 11 of 20




         2.       An entire assignment was not made.

         The assignment at issue does not assign the entire insurance claim over to Edge. Any

 arguable assignment, in this mater, is made when proceeds are not paid.

         In this case, Edge made the bulk of the repairs; however, the City of Aurora found code

 violations, which triggered additional repairs that have not been completed.25 David Greeson

 testified in his affidavit that “even if the assignment were in place, it would only assign that portion

 of the claim represented by the work that had been done by Edge.”26 As the Code Compliance

 repairs have not been made and are the main issue in this litigation, no assignment to Edge from

 Gateway has occurred under the terms of the contract. The assignment is not for all amounts due

 under the claim, instead it is for those amounts owed for repairs made by Edge. See Id. at 112

 (“Since Aetna [assignee] did not have effective assignments from the subcontractor for all funds

 due and to become due the subcontractor, the action was maintainable for the use and benefit of

 the subcontractor.”). Here, Edge was not assigned all funds due, only those that went unpaid for

 repairs it has already completed. Therefore, any amounts paid by the insurer that relate to work

 that has not been completed are not subject to the assignment. Because Gateway has not assigned

 the entire claim, and because Edge has ratified Gateway’s position, Gateway can still maintain an

 action in its own name. Hoeppner, 287 F.2d at 112.

         3.       Edge has ratified the fact that Gateway has the authority to prosecute the suit in
                  its own name.

         David Greeson, the owner of Edge Construction, testified, by affidavit, Gateway has the

 right to pursue the claims against the Defendant.27

 25
    Exhibit O - Deposition Transcript of Dustin Wade Greeson, pp. 114:7-114:21.
 26
    Exhibit L.
 27
    Exhibit L.

                                                        8
Case 1:15-cv-00395-RBJ Document 62 Filed 03/30/16 USDC Colorado Page 12 of 20




        In reviewing a contract, it is the court’s primary obligation to effectuate the intent of the

 parties to that contract. Chandler-McPhail v. Duffey, 194 P.3d 434, 438 (Colo. Ct. App. 2008).

 Edge states it was the intent of the parties for Gateway to have full authority to prosecute the claims

 on its own behalf.

        The evidence before the Court, straight from the only two parties to the contract, is that it

 was the intent of the parties to that contract that Gateway, not Edge, bring the claims for insurance

 proceeds against Defendant. Defendant, a non-party to the contract can point to nothing either in

 the language of the contract, nor in the record, evidencing that this is not the intent of the parties.

 To the extent the Court finds, however, that this is not the intent, Edge Construction testified by

 affidavit that it disavows, rescinds, and voids those rights. The contract assigns the benefits once

 received, the contract does not relinquish the right in which to bring a lawsuit to benefits that under

 the contract Gateway is entitled to receive. Whether or not Edge Construction has a claim to those

 benefits once paid to Gateway is between Edge and Gateway, and is not a ripe or justiciable dispute

 before the court.

        This further demonstrates that Edge Construction has ratified Gateway proceeding with the

 claim. See Audio-Visual Marketing Corp. v. Omni Corp., 545 F.2d 715, 718-19 (10th Cir. 1976).

 In that case AVMC alleged at trial that Omni was not the real party in interest under an assignment

 made by Omni to its bank. Counsel for Omni maintained that Omni was at all times the real party

 in interest; however, he nonetheless effected a reassignment to Omni by the bank, of the bank’s

 interest. Id. at 719. The bank’s president also testified and “otherwise ratified the bringing of the

 action by Omni.” Id. The Tenth Circuit then held that “under such circumstances the trial court

 properly rejected the argument that Omni was not the real party in interest.” Id. Here, there is no


                                                   9
Case 1:15-cv-00395-RBJ Document 62 Filed 03/30/16 USDC Colorado Page 13 of 20




 question that Edge Construction has ratified the action brought by Gateway; therefore, any

 argument that Gateway is not the real party in interest should likewise be rejected.

        4.       The condition precedent to trigger assignment has not yet occurred.

        Here, as Defendant states, there are two conditions precedent to trigger the assignment of

 the post-loss benefits to Edge Construction. The first is that Edge must make repairs to the

 property, and the second is that the insurer must have not properly pay for those repairs. Both

 conditions must be present in order for the assignment to trigger.

        Plaintiff does not dispute that Defendant has not yet made the proper payments; however,

 the issue of proper payment is the basis of this litigation. Assignment, if any, would only be

 triggered by a determination of what amounts were owed under the policy and that the Defendant

 did not pay those amounts. Moreover, if a trial determines that Plaintiff’s damages were not

 covered under the policy, then Defendant would not have failed to make proper payment as none

 would be due. Edge would then be released from its agreement not to place a lien on the property

 as there would be no insurance proceeds, and can then pursue its available remedies against

 Gateway for any work performed. The point being – Defendant’s ultimate non-payment has not

 yet occurred.

 B.     Lack of Prejudice-Waiver

        Under the notice-prejudice rule, an insured who gives late notice of a claim to his or her

 insurer does not lose coverage benefits unless the insurer proves by a preponderance of the

 evidence that the late notice prejudiced its interests. Craft v. Philadelphia Indemnity Insurance

 Company, 343 F.3d 951 (S Ct. Colo. 2015) citing Friedland v. Travelers Indem. Co., 105 P.3d

 639, 643 (Colo. 2005). The Defendant claims that it received late notice of additional costs due to


                                                 10
Case 1:15-cv-00395-RBJ Document 62 Filed 03/30/16 USDC Colorado Page 14 of 20




 Code Compliance. However, the evidence shows that the Defendant had accepted coverage and

 the Plaintiff was in constant communication with the Defendant related to the repairs. The Plaintiff

 was in the process of completing repairs when the City of Aurora issued code violations for the

 project.       Plaintiff immediately notified the Defendant and the Defendant actually accepted

 coverage and attempted to issue insufficient payment. The Defendant never argued prior to

 litigation or properly plead any claim that it was prejudiced by alleged late notice. The Defendant

 has offered no evidence showing it was prejudiced by the alleged late notice, which is fatal to its

 Motion.

           Defendant was on notice of the code issues within twenty-one days of the expiration of the

 two year limitation and in fact accepted coverage and paid additional amounts for “enforced

 ordinance items” after that time period had expired.28 Defendant, after the expiration of this two

 year limitation, accepts coverage for this repair, and on July 8, 2014, nearly five weeks after the

 two year period had ran, made payment under “enforced ordinance items.”29 During the remainder

 of the adjustment, while additional code items were being claimed, at no time before March 9,

 2016, did Defendant attempt to argue that Plaintiff was not entitled to code coverage due to this

 exclusion and in fact had made payments to Plaintiff under this very endorsement after the time

 period had elapsed.

           Waiver is the intentional and voluntary abandonment of a known right. Board of County

 Com’rs of Larimer County in State of Colo v. Guarantee Ins. Co. 90 F.R.D. 405, 408 (D. Colo.

 1981). Even absent n express intent not to waive a defense, waiver may result from the insurer’s



 28
       Ex. D.
 29
      Id.

                                                   11
Case 1:15-cv-00395-RBJ Document 62 Filed 03/30/16 USDC Colorado Page 15 of 20




 conduct. Id. at 409. Where an insurer, by its conduct, has lead the insured to believe that the loss

 will be paid or adjusted, an insurer has waived its limitations period. Aimoneto v. Nat. Union Fire

 Ins. Co. of Pitt., Pa., 365 F.2d 599 (10th Cir. 1996). While a statute of limitations is not a policy

 defense that can be waived, the limitations provision cited by Defendants is a policy defense that

 can be waived. Trigg v. State Farm Mut. Auto. Ins. Co., 129 P.3d 1099, 1102 (Colo. App. 2005)

 (cert. denied). Defendant’s conduct in continuing to adjust the ordinance or law coverage and

 making payment after the limitation had expired (all the while making no mention whatsoever

 about the limitation until the instant motion), clearly evidences waiver on the part of Travelers as

 to that provision.

 C.     Plaintiff Complied with Policy Conditions

        The issues, in Exhibit W (“Sable Cove”) to the Defendant’s Motion for Summary

 Judgment, are distinguishable as follows:

        1. Sable Cove was brought in the name of Edge Construction and Edge was asserting it’s

            rights against the insured; whereas, this matter is brought in the name of Gateway, the

            insured;

        2. In Sable Cove, all of the work was completed; therefore the assignment was complete;

            in the instant matter, all of the work is not completed.

        3. Sable Cove turned on a Draft Estimate with overhead and profit and Revised Estimate,

            which did not include overhead and profit; whereas, in the instant matter the Plaintiff

            has submitted both evidence of repairs and an Estimate for the Repairs required for

            code compliance supported by an Engineering report.




                                                  12
Case 1:15-cv-00395-RBJ Document 62 Filed 03/30/16 USDC Colorado Page 16 of 20




            4.   In Sable Cove, the Plaintiff apparently refused to provide some documentation that

                 existed; whereas, the Plaintiff in the instant matter has provided all of the documents

                 in its possession and control and even undertook the additional expense of obtaining an

                 estimate for code compliance backed by an engineering report.

 The Plaintiff, in the instant matter, cannot make the repairs until the issue between itself and the

 Defendant is resolved and paid by Defendant. Further, the issue of code compliance did not some

 to the attention of any of the parties until the City of Aurora issued a citation. This issue was

 immediately brought to the attention of the Defendant and soon thereafter the Defendant received

 an estimate backed by an engineering report, which outlined in detail the cost and basis for code

 compliance. The Defendant instead decided an arbitrary number for code compliance and ignored

 the Plaintiff’s estimate and engineering report.

            Further, the Defendant attempts to argue that Plaintiff has failed to cooperate and provide

 proper documentation of the repairs needed to comply with the Code. However, the documents

 requested by the Defendant do not exist as the repairs for code compliance have not been made.

 Plaintiff at its own expense has provided the Defendant with an estimate backed by an Engineering

 report. The Defendant even agrees the Plaintiff is not required to undertake the expense of creating

 a report for the Defendant to properly adjust the claim.30 Despite the fact the Plaintiff has provided

 an estimate backed by a report, the Defendant arbitrarily refuses to pay the claim and only offers

 late filed conclusory opinions, as to why it did not.

 D.         Gateway Proved its Damages-The Existing codes in effect in the City of Aurora result
            in an increased cost to repair Plaintiff’s damaged property and these code
            requirements have been enforced, triggering coverage.


 30
      Exhbit N-Deposition of William Wade Ledbetter, pp. 43:5-44-16.

                                                         13
Case 1:15-cv-00395-RBJ Document 62 Filed 03/30/16 USDC Colorado Page 17 of 20




            During the repair process at the property, per the course of typical construction projects,

 Aurora City inspectors visited and inspected the property to ensure compliance with applicable

 building codes. Periodically, as a means of enforcing the applicable building codes, these

 inspectors would issue notices of violations, and would identify the code area for which there was

 a violation, and issue an instruction to bring the applicable area “up to code.” Specifically, the City

 of Aurora issued a Notice of Violation, regarding code section “Roof 146-1106(D).31

            In this case, Travelers agreed that hail caused damage to the one membrane (TPO) roof,

 and agreed that this roof warranted full replacement. Travelers also agreed that the mansard roofs

 were damaged by wind, and needed to be replaced as well. It is these repairs that trigger the code

 issues requiring additional work to bring the structure up to code.

            Code requires full replacement of the low-slope roofs on three remaining buildings.32 Mr.

 Irmiter’s conclusions regarding the code requirements are consistent with the language contained

 in Gateway’s Violation Notice requiring the roofs be weatherproof and watertight, and that any

 deteriorated or rotting boards be addressed.33 The city’s Violation Notice demonstrates that the

 issues regarding the leaking roof had to be addressed by Gateway or they would be in violation of

 city code.34 Moreover, such cost to determine compliance certainly results in an “increased cost


 31
      Exhibit “I”, City of Aurora Notice of Violation.
 32
    Plaintiff incorporates by reference Plaintiff’s Motion for Summary Judgment as fully set forth herein by reference.
 See Also Exhibit “C” Travelers Estimate (Exhibit 35 to Irmiter’s Depo) Exhibit “K” Affidavit of Thomas J. Irmiter at
 B-1, pp. 7-8. Id. B-1 at 8 and B-5; citing International Building Code 2009 (seventh printing), Chapter 1 Part 2 Section
 104.11, http://publicecodes.cyberregs.com/icod/iebc/2009/icod_iebc_2009_1_par039.htm (last visited 2/17/2016)
 (An alternative material, design, or method of construction shall be approved where the code official finds that the
 proposed design is satisfactory and complies with the intent of the provisions of this code, and that the material,
 method, or work offered is, for the purpose intended, at least the equivalent of that prescribed in this code in quality,
 strength, effectiveness, fire resistance, durability, and safety).
 33
      Exhibit “I” Violation Notice.
 34
      Exhibit “A” Policy of Insurance p. 19

                                                            14
Case 1:15-cv-00395-RBJ Document 62 Filed 03/30/16 USDC Colorado Page 18 of 20




 of construction” which is covered under the Policy.             35
                                                                      Because the sheathing must be removed to

 address the wetness issue, the attic insulation will be exposed, revealing the deficiency, which in

 turn must be addressed as well.36

        Plaintiff provided the Defendant with sufficient evidence of the cost for Code Compliance.37

 E.          Plaintiff Timely Raised Code Compliance

             In Dupre v. Allstate Insurance Company, 62 P.3d 1024, 1028 – 1029 (Colo. App. 2003), the Court

 found, the duty of good faith owed by the insurer to the insured requires that it not act to prevent the

 occurrence of conditions to its performance. Id. citing Navajo Freight Lines, Inc. v. Moore, 170 Colo. 539,

 543, 463 P.2d 460, 462 (1970)(“it is a principle of fundamental justice that if a promisor is himself the

 cause of the failure of performance of a condition upon which his own liability depends, he cannot take

 advantage of that failure”); see also Restatement (Second) Contracts § 245 cmt. a (1981)( Where a duty of

 one party is subject to the occurrence of a condition, the additional duty of good faith and fair dealing

 ... may require some cooperation on his part, either by refraining from conduct that will prevent or hinder

 the occurrence of that condition or by taking affirmative steps to cause its occurrence.); cf. Strader v.

 Beneficial Fin. Co., 191 Colo. 206, 551 P.2d 720 (1976)(where a party’s acts or omissions contribute to the

 running of a statute of limitations, the party may be prevented from raising that defense by the doctrine of

 equitable estoppel). Further, duty of good faith and fair dealing extends to litigation. See, Rakin v.

 Fidelity Nat. Property & Casualty Inc. Co., 863 F.Supp.. 1107, 1112 (D. Colo. 2012).

             On June 27, 2014, Travelers noted that the City of Aurora had an issue with the “flashing

 between the termination of the flat roof and the mansard roof.38 Travelers estimated the amount to



 35
      Id. at B-1 pp. 8 – 9.
 36
      Exhibit “J” at p. 149:10-19.
 37
      Ex. K.
 38
      Exhibit “D” Claim Notes p. 6 (TIC 000184 - 000185).

                                                            15
Case 1:15-cv-00395-RBJ Document 62 Filed 03/30/16 USDC Colorado Page 19 of 20




 comply with the City to be $35,188.48.39 Travelers did not maintain that this “Ordinance additional

 cost” was not covered.40

            On July 29, 2014, Plaintiff’s Public Adjuster Peter Ridulfo notified Travelers that there

 were outstanding items that required attention due to the City Codes. 41 Travelers notes state that

 “[f]rom our perspective the claim was estimated and paid.”42 Travelers then requested

 documentation as to each code item being claimed.43

            On August 21, 2014, Travelers re-inspected the building with Mr. Ridulfo, noting its belief

 that the repairs were properly scoped and there are no pending code issues.44

            On December 12, 2014, Travelers’ Adjuster Brad DuPuis notified Mr. Ridulfo that they

 disagree that any additional repairs are necessitated by the code, and that they had issued sufficient

 payments.

            Once the Plaintiff had notice of the Code violations it diligently worked with Travelers to

 provide information related to additional scope and costs to comply with the code.

            For all the reasons stated above, the Defendant’s Motion for Summary Judgment should

 be denied.

            WHEREFORE premises considered, Plaintiff respectfully requests this Court enter an

 order DENYING Defendant’s Motion for Summary Judgment.




 39
      Id. at TIC 000185.
 40
      Id.
 41
      Id. at TIC 000183.
 42
      Id.
 43
      Id.
 44
      Id. at TIC 000183.

                                                    16
Case 1:15-cv-00395-RBJ Document 62 Filed 03/30/16 USDC Colorado Page 20 of 20




                                              Respectfully submitted,
                                              By:    /s/ Robert D. Green
                                                     Robert D. Green, #46875
                                                     Hunter M. Klein
                                                     ROBERT D. GREEN & ASSOCIATES, P.C.
                                                     440 Louisiana Street, Ste. 1930
                                                     Houston, Texas 77002
                                                     Telephone: (713) 654-9222
                                                     Facsimile: (713) 654-2155
                                                     E-mail: green@greentriallaw.com
                                                     E-mail: klein@greentriallaw.com

                                              By:    /s/ Daniel P. Barton
                                                     Daniel P. Barton
                                                     Wayne Collins
                                                     BARTON LAW FIRM
                                                     1201 Shepherd Drive
                                                     Houston, Texas 77007
                                                     (713) 227-4747 (phone)
                                                     (713) 621-5900 (fax)
                                                     E-mail: dbarton@bartonlawgroup.com
                                                     E-mail: wcollins@bartonlawgroup.com

                                 CERTIFICATE OF SERVICE


         I hereby certify that on this 30th day of March, 2016, this document filed through the ECF
 system will be sent electronically to the registered participants as identified on the Notice of
 Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
 participants.

        Amy M. Samberg
        Jeri J. Wettestad
        Amy L. Biles
        Thomas H. Blomstrom
        SNELL & WILMER L.L.P. – DENVER
        1200 17th Street
        Suite 1900
        Denver, Colorado 80202

                                                             /s/ Daniel P. Barton
                                                             Daniel P. Barton

                                                17
